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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                        )
                                                  )
                          Plaintiff,              )
                                                  )
                     v.                           )        CAUSE NO. 1:24-cr-00189-MPB-KMB
                                                  )                  1:22-cr-00086-MPB-KMB
 TOMMIE THEODIS GORDON JR.,                       )
                                                  )
                          Defendant.              )

             PETITION TO ENTER PLEA OF GUILTY AND PLEA AGREEMENT

        The United States of America, by counsel, John E. Childress, Acting United States

 Attorney for the Southern District of Indiana, and, Nate Walter, Special Assistant United States

 Attorney (“the Government”), and the defendant, Tommie Theodis Gordon, Jr. (“the defendant”),

 in person and by counsel, Gwendolyn M. Beitz, hereby inform the Court that a Plea Agreement

 has been reached in this case pursuant to Federal Rule of Criminal Procedure 11(c)(1)(B). The

 following are its terms and conditions:

                                       Guilty Plea and Charge

        1.      Plea of Guilty: The petitions the Court for leave to enter and agrees to enter a

 plea of guilty to Count 1 of the Indictment which charges the defendant with the offense of

 Unlawful Possession of a Firearm by a Felon, in violation of Title 18, United States Code,

 Section 922(g)(1)

        2.      Potential Maximum Penalties: Count 1 is punishable by a maximum sentence

 of 15 years of imprisonment, a $250,000 fine, and no more than 3 years of supervised release

 following any term of imprisonment.
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        3.      Elements of the Offense: To sustain the offense to which the defendant is

 pleading guilty, the Government must prove the following elements beyond a reasonable doubt:

                a.      The defendant knowingly possessed a firearm;

                b.      At the time the defendant knowingly possessed a firearm, the defendant

                        had been previously convicted of an offense punishable by a term of

                        imprisonment of more than one year;

                c.      At the time of this offense, the defendant had knowledge that he had been

                        previously convicted of an offense punishable by a term of imprisonment

                        of more than one year; and

                d.      The firearm had moved in or affected interstate or foreign commerce.

                                        General Provisions

        4.      Sentencing Court’s Discretion Within Statutory Range: The defendant agrees

 and understands that: (A) the Court will use its discretion to fashion a sentence within the

 statutory range set forth above; (B) the Court will consider the factors set forth in 18 U.S.C. §

 3553(a) in determining the appropriate sentence within the statutory range; (C) the Court will

 also consult and take into account the United States Sentencing Guidelines (“Sentencing

 Guidelines” or “U.S.S.G.”) in determining the appropriate sentence within the statutory range(s);

 (D) the Sentencing Guidelines are not mandatory or binding on the Court, but are advisory in

 nature; (E) restitution may be imposed; (F) by pleading “Guilty” to more than one offense

 (Count), the Court may order the sentences to be served consecutively one after another; (G) the

 final determination concerning the applicable advisory guideline calculation, criminal history

 category, and advisory sentencing guideline range will be made by the Court; and (H) by




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 pleading “Guilty,” the Court may impose the same punishment as if the defendant had plead

 “Not Guilty,” had stood trial and been convicted by a jury.

        5.      Sentencing Court Not Bound by Guidelines or Recommendations: The

 defendant acknowledges that this Plea Agreement is governed by Federal Rule of Criminal

 Procedure 11(c)(1)(B) and that the determination of the defendant’s sentence is within the

 discretion of the Court. The defendant understands that if the Court decides to impose a sentence

 higher or lower than any recommendation of either party, or determines a different advisory

 sentencing guideline range applies in this case, or decides to impose a sentence outside of the

 advisory sentencing guideline range for any reason, then the defendant will not be permitted to

 withdraw this plea of guilty for that reason and will be bound by this plea of guilty.

        6.      Plea Agreement Based on Information Presently Known: The defendant

 recognizes and understands that this Plea Agreement is based upon the information presently

 known to the Government. The Government agrees not to bring other federal charges against the

 defendant based on information currently known to the United States Attorney for the Southern

 District of Indiana.

        The Government will inform the Court and the defendant at the time of taking the

 defendant’s plea whether the Government has obtained any information after the Plea Agreement

 was signed that may warrant bringing other federal charges against the defendant.

        7.      No Protection From Prosecution for Unknown or Subsequent Offenses: The

 defendant acknowledges and agrees that nothing in this agreement shall protect the defendant in

 any way from prosecution for any offense not specifically covered by this agreement, or not

 known to the United States Attorney for the Southern District of Indiana at this time. The

 defendant further acknowledges and agrees that nothing in this agreement shall protect the



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 defendant in any way from prosecution for any offense committed after the date of this

 agreement.

         8.      Rights Under Rule 11(b), Fed. R. Crim. P.: The defendant understands that the

 Government has the right, in a prosecution for perjury or false statement, to use against the

 defendant any statement that the defendant gives under oath during the guilty plea colloquy. The

 defendant also understands that the defendant has the right: (A) to plead not guilty, or having

 already so pleaded, the right to persist in that plea; (B) to a jury trial; (C) to be represented by

 counsel--and if necessary have the court appoint counsel--at trial and at every other stage of the

 proceedings, including appeal; and (D) to confront and cross-examine adverse witnesses, to be

 protected from compelled self-incrimination, to testify and present evidence, and to compel the

 attendance of witnesses. The defendant also understands that the Constitution guarantees the

 right to be considered for release until trial; and if found guilty of the charge, the right to appeal

 the conviction on such charge to a higher court. The defendant understands that if the Court

 accepts this plea of guilty, the defendant waives all of these rights.

                                      Sentence of Imprisonment

         9.      Sentencing Recommendation Pursuant to Federal Rule of Criminal

 Procedure 11(c)(1)(B): The parties have not agreed upon a specific sentence. The parties

 reserve the right to present evidence and arguments concerning what they believe to be the

 appropriate sentence in this matter.

                 a.      Government’s Recommendation: The Government has agreed to

         recommend a sentence within the advisory guideline range as determined by the Court

         provided that the defendant (i) continues to fully accept responsibility for the offense, (ii)




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        does not commit a new criminal offense before the date of any sentencing, and (iii) does

        not otherwise violate the terms of any pre-trial release before the date of sentencing.

                b.     Defendant’s Recommendation: The defendant may recommend any

        sentence authorized by law.

        10.     Supervised Release: Both parties reserve the right to present evidence and

 arguments concerning whether the Court should impose a term of supervised release to follow

 any term of imprisonment in this case, the duration of any term of supervised release, and the

 terms and conditions of the release.

        11.     Disposition of Cause 1:22-cr-00086-MPB-KMB: The defendant agrees to admit

 violation number 7 as alleged in the Petition for Warrant or Summons for Offender Under

 Supervision [Dkt. 76.] In exchange for his admission, the Government agrees to dismiss

 violations numbered 1 through 6 as alleged in the Petition for Warrant or Summons for Offender

 Under Supervision [Dkt. 62.] The government and the defendant will both recommend a

 sentence within the advisory guideline range as it is stated in the Revocations Parameters

 Worksheet. [Dkt. 76-1.] The government and the defendant will both recommend that no

 supervised release should be imposed following the disposition of the violation.




                                         Monetary Provisions

        12.     Mandatory Special Assessment: The defendant will pay a total of $100 on the

 date of sentencing or as ordered by the Court to the Clerk, United States District Court, which

 amount represents the mandatory special assessment fee imposed pursuant to 18 U.S.C. § 3013.


        13.     Fine: To be determined by the Court.



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        14.     Financial Obligations: The defendant understands and agrees to the following

 financial obligations:

                a.        Obligation to Pay: Any financial obligation imposed by the Court,

        including a restitution order and/or the implementation of a fine, is due and payable

        immediately. In the event the Court imposes a schedule for payment of restitution, such a

        schedule represents a minimum payment obligation and does not preclude the United

        States Attorney’s Office from pursuing any other means by which to satisfy the

        defendant’s financial obligation. The defendant has a continuing obligation to pay in full

        as soon as possible any financial obligation imposed by the Court. The Government may

        use the Federal Debt Collection Procedures Act and any other remedies provided by law

        to enforce any restitution order and/or to collect any fine. The defendant consents to the

        Government’s use of such legal remedies to collect the defendant’s financial obligation

        and hereby waives any objection to such collection efforts.

                b.        Financial Disclosure: The Defendant shall disclose to the United States

        Attorney’s Office and the United States Probation Office all assets in which he/she has

        any interest or over which the Defendant exercises control, directly or indirectly,

        including those held by a spouse, nominee or third party. The defendant shall truthfully

        complete the United States Attorney’s Office’s financial statement form and return the

        completed form to both the United States Attorney’s Office and the United States

        Probation Office.

                c.        Notice of Material Changes: Prior to sentencing, the defendant shall

        provide notice to the United States Attorney’s Office and United States Probation Office

        of any material change in the defendant’s economic circumstances, within seven days of



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        the event giving rise to the changed circumstances. Such changes shall include, but are

        not limited to, the transfer of any property, or the defendant’s interest in any property,

        with a value exceeding $1,000, owned, possessed, and/or controlled directly or indirectly,

        individually or jointly, by the defendant.

               d.      Failure to Disclose: The defendant’s failure to timely and accurately

        complete the financial statement or to provide notice of material change in economic

        circumstances may, in addition to any other penalty or remedy, constitute the defendant’s

        failure to accept responsibility under U.S.S.G § 3E1.1.

               e.      Material Misrepresentations and Omissions: If the defendant makes

        any material misrepresentation or omission in or regarding the above-described financial

        obligations, including failing to disclose assets in which the defendant owns, possesses,

        controls, or has an interest, the Government may, at its sole option, choose to be relieved

        of its obligations under this plea agreement. Misrepresentations and/or omissions are

        material if they effect the defendant’s net worth by $10,000 or more.

                                             Forfeiture

        15.    Property to be Forfeited. The defendant stipulates and agrees to the forfeiture to

 the Government of, and to the immediate entry of a Preliminary Order of Forfeiture against the

 defendant pursuant to Federal Rule of Criminal Procedure 32.2(b)(2), the following property:

               a.      Sun City Machinery CO., LTD Stevens 320 Shotgun CAL: 12
                       (S/N: 171010J)
                       [24-ATF-030883]

               b.      6 Round Assorted Ammunition CAL: 12
                       [24-ATF-030884]

               c.      25 Rounds Assorted Ammunition CAL: 12
                       [24-ATF-030886]



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 (collectively the “Subject Property”).

        16.     Legal Basis for Forfeiture. The parties stipulate and agree that the Subject

 Property is subject to forfeiture because it is firearms and ammunition involved in the

 commission of the offense and is therefore subject to forfeiture pursuant to 18 U.S.C. § 924(d).

        17.     Waiver of Procedural Rights. The defendant waives the requirements of

 Federal Rules of Criminal Procedure 32.2 and 43(a) regarding notice of the forfeiture in the

 Indictment, announcement of the forfeiture at sentencing, and incorporation of the forfeiture into

 the judgment. The defendant waives all rights to any further notice or right to participate in any

 ancillary proceeding or any other proceeding pertaining to this forfeiture. The defendant agrees

 not to oppose, and to withdraw any previously filed opposition to, any administrative or judicial

 forfeiture action related to the Subject Property.

        18.     Legal Effect of Forfeiture. The defendant understands that any forfeiture order

 entered by the Court is mandatory and is a part of defendant’s sentence. The defendant agrees

 that forfeiture of the Subject Property is separate from restitution, and that the forfeiture of the

 Subject Property cannot be ordered by the Court to satisfy any restitution, fine, cost of

 imprisonment, or any other penalty the Court may impose.

        19.     Abandonment of Other Seized Property. The defendant understands that other

 property may have been seized by federal, state, or local law enforcement agencies during the

 investigation and prosecution of this cause, which is not identified as Subject Property and is not

 contraband. If such property is not forfeited and/or has not been returned to the defendant by the

 date of sentencing, then the defendant agrees to abandon all right, title, and interest the defendant

 may have in such property, so that proper disposition, including destruction, may be made

 thereof by federal, state, or local law enforcement agencies without further notice or obligation



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 whatsoever owing to the defendant. The defendant consents to the vesting of title to such

 property to the United States, pursuant to Title 41, Code of Federal Regulations, Section 128-

 48.102-1. The defendant waives any right to receive notice or a hearing with respect to any

 motion, pleading, order, or any other action that the Government might take to carry out the

 abandonment, disposition, and/or destruction of such property. The defendant’s waiver includes,

 without limitation, all common law, statutory, and constitutional claims or challenges, on any

 grounds, arising at any time from, or relating to, the seizure, abandonment, disposition, and

 destruction of such property. The defendant further agrees to hold the United States of America,

 its agents and employees, harmless from any claims whatsoever in connection with the seizure,

 abandonment, disposition, and destruction of such property.

                                   Factual Basis for Guilty Plea

        20.     The parties stipulate and agree that the following facts establish a factual basis for

 the defendant’s plea of guilty to the offense set forth in Paragraph One, above, and that the

 Government would be able to establish the following facts beyond a reasonable doubt in the

 event this cause was to proceed to trial. The following information is only a summary of the

 Government’s evidence. This Plea Agreement is not intended to foreclose the presentation of and

 the Government reserves the right to present additional evidence at the time of sentencing.

                a.      On August 8, 2024, Indianapolis Metropolitan Police Department (IMPD)

        Detectives and Officers observed the defendant, Tommie Theodis Gordon, Jr., commit

        several traffic infractions while driving a silver Chevy Equinox in the area of Ritter

        Avenue and Washington Street in Indianapolis, Indiana, within the Southern District of

        Indiana.




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                b.      A uniformed IMPD officer attempted to conduct a traffic stop on the

         defendant for the infractions. When IMPD officers attempted to stop the Equinox, the

         defendant drove away from officers at a high rate of speed. A high-speed police chase

         ensued that lasted approximately 10 minutes, covered over 11 miles, and reached speeds

         of approximately 100 miles per hour. During the pursuit, the defendant rammed a police

         vehicle attempting a PIT maneuver, disregarded all traffic control signals, and would

         drive into oncoming lanes of traffic. The vehicle was eventually stopped in downtown

         New Palestine after hitting stop sticks and an effective PIT maneuver.

                c.      The defendant was the lone occupant of the vehicle and was taken into

         custody. On the back seat of the Equinox, in plain view, officers located a Stevens Model

         320 12-gauge shotgun loaded with six shotshells. A bag containing more 12-gauge

         ammunition was located partially on top of the shotgun.

                d.      During his arrest, the defendant admitted to law enforcement that he was

         on federal supervision and that he knew there was a shotgun in the back of the vehicle.

         The defendant stated that he possessed the shotgun for several days and that he intended

         to sell the shotgun.

                e.      The Stevens Model 320 shotgun was not manufactured in Indiana and

         therefore travelled in interstate commerce.

                f.      On August 8, 2024, the defendant had been convicted of felony offenses

         and he was aware of those convictions.

                                         Other Conditions

         21.    Background Information: The defendant acknowledges and understands that no

  limitation shall be placed upon the Court’s consideration of information concerning the



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  background, character, and conduct of the defendant for the purpose of imposing an appropriate

  sentence. The defendant acknowledges and understands that the Government is not prohibited

  from providing information concerning background, character, and conduct of the defendant for

  the purpose of recommending or advocating an appropriate guideline calculation and sentence.

         22.     Good Behavior Requirement: The defendant agrees to fully comply with all

  conditions of release imposed by the Court during all stages of this case. If the defendant fails to

  fully comply with such conditions, then the Government may withdraw from this Agreement.

         23.     Compliance with Federal and State Laws: The defendant understands that the

  obligations of the Government in this Plea Agreement are expressly contingent upon the

  defendant abiding by federal and state laws.

                                  Sentencing Guideline Stipulations

         24.     Guideline Computations: Pursuant to Section 6B1.4 of the Sentencing

  Guidelines, the parties agree to the Stipulations below. The parties understand and agree that

  these Stipulations are binding on the parties but are only a recommendation to the Court and that

  the Court will determine the advisory sentencing guidelines applicable in this case. The parties

  agree that no stipulation regarding any factors in Chapter 4, Criminal History Category, of the

  Sentencing Guidelines has been made, and that such determination will be made by the Court.

  The 2023 version of the Sentencing Guidelines has been used by the parties to make the

  stipulations set forth below.

                 a.      Base Offense Level: 14 pursuant to U.S.S.G. § 2K2.1(a)(6)(A) because

         the defendant was a prohibited person at the time he committed the instant offense.

                 b.      Reckless Endangerment During Flight: +2 pursuant to U.S.S.G. §

         3C1.2 because the defendant recklessly created a substantial risk of death or serious



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         bodily injury to another person during the course of fleeing from a law enforcement

         officer.

                    c.     Acceptance of Responsibility: To date, the defendant has demonstrated a

         recognition and affirmative acceptance of personal responsibility for the defendant’s

         criminal conduct. Based upon the defendant’s willingness to accept a Plea Agreement

         and enter a plea of guilty to the criminal conduct noted in this agreement, the

         Government agrees that the defendant should receive a two (2) level reduction provided

         the defendant satisfies the criteria set forth in Guideline § 3E1.1(a) up to and including

         the time of sentencing. The defendant timely notified the Government of defendant’s

         intention to enter a plea of guilty, thereby permitting the Government and the Court to

         allocate their resources efficiently. After the Defendant enters a plea of guilty, the

         Government intends to file a motion pursuant to U.S.S.G. § 3E1.1(b) requesting that the

         Court decrease the offense level by one (1) additional level. The parties reserve the right

         to present evidence and arguments concerning the defendant’s acceptance of

         responsibility at the time of sentencing.

                    d.     Final Offense Level: 13

                                       Waiver of Right to Appeal

         25.        Direct Appeal: The defendant understands that the defendant has a statutory

  right to appeal the conviction and sentence imposed and the manner in which the sentence was

  determined. Acknowledging this right, and in exchange for the concessions made by the

  Government in this Plea Agreement, the defendant expressly waives the defendant’s right to

  appeal the conviction and sentence imposed in this case on any ground, including the right to

  appeal conferred by 18 U.S.C. § 3742. The defendant further expressly waives any and all



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  challenges to the statute to which the defendant is pleading guilty on constitutional grounds, as

  well as any challenge that the defendant’s admitted conduct does not fall within the scope of the

  applicable statute. This waiver of appeal specifically includes all provisions of the guilty plea

  and sentence imposed, including the length and conditions of supervised release and the amount

  of any fine.

         26.       Later Legal Challenges: Additionally, the defendant expressly agrees not to

  contest, or seek to modify, the defendant’s conviction or sentence or the manner in which either

  was determined in any later legal proceeding, including but not limited to, an action brought

  under 18 U.S.C. § 3582 or 28 U.S.C. § 2255, except as follows:

                   a.     Ineffective Assistance of Counsel: As concerns the Section 2255 waiver,

         the waiver does not prevent claims, either on direct or collateral review, that the

         defendant received ineffective assistance of counsel.

                   b.     Retroactive Sentencing Guidelines Reductions: As concerns this

         Section 3582 waiver, should the United States Sentencing Commission and/or Congress

         in the future amend the Sentencing Guidelines to lower the guideline range that pertains

         to the defendant’s offense(s) and explicitly make such an amendment retroactive, the

         Government agrees that it will not argue that this waiver bars the defendant from filing a

         motion with the district court pursuant to 18 U.S.C. § 3582(c)(2) based on that retroactive

         Guidelines amendment. However, if the defendant files such a motion, the Government

         may oppose the motion on any other grounds. Furthermore, should the defendant seek to

         appeal an adverse ruling of the district court on such a motion, this waiver bars such an

         appeal.




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                 c.      Motions for Compassionate Release: As concerns this Section 3582

         waiver, the defendant reserves the right to file motions seeking a “compassionate release”

         sentence reduction pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) based on “extraordinary and

         compelling reasons” set forth in U.S.S.G. § 1B1.13. The government reserves the right to

         oppose any motion for compassionate release on any grounds.

         27.     No Appeal of Supervised Release Term and Conditions: The defendant

  waives the right to appeal the length and conditions of the period of supervised release.

                                  Presentence Investigation Report

         28.     The defendant requests and consents to the commencement of a presentence

  investigation by probation officers of the United States District Court for purposes of preparing a

  Presentence Investigation Report at this time and prior to the entry of a formal plea of guilty.

         29.     The defendant further requests and consents to the review of the defendant’s

  Presentence Investigation Report by a Judge, defendant’s counsel, the defendant, and the

  Government at any time, including prior to entry of a formal plea of guilty.

                                     Immigration Consequences

         30.     The defendant recognizes that pleading guilty may have consequences with

  respect to the defendant’s immigration status if the defendant is not a citizen of the United States.

  Under federal law, a broad range of crimes are removable offenses, including the offenses to

  which the defendant is pleading guilty. The defendant also recognizes that removal will not

  occur until service of any sentence imposed in this case has been completed. Removal and other

  immigration consequences are the subject of a separate proceeding, however, and the defendant

  understands that no one, including the defendant’s attorney or the Court, can predict to a

  certainty the effect of the conviction in this case on the defendant’s immigration status. The



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  defendant nevertheless affirms that the defendant wants to plead guilty regardless of any

  immigration consequences that this plea may entail, even if the consequence is the defendant’s

  removal from the United States.

                                     Statement of the Defendant

         31.     By signing this document, the defendant acknowledges the following:

                 a.      I have received a copy of the Indictment and have read and discussed it

         with my attorney. I believe and feel that I understand every accusation made against me

         in this case. I wish the Court to omit and consider as waived by me all readings of the

         Indictment in open Court, and all further proceedings including my arraignment.

                 b.      I have told my attorney the facts and surrounding circumstances as known

         to me concerning the matters mentioned in the Indictment, and believe and feel that my

         attorney is fully informed as to all such matters. My attorney has since informed,

         counseled and advised me as to the nature and cause of every accusation against me and

         as to any possible defenses I might have in this case.

                 c.      I have read the entire Plea Agreement and discussed it with my attorney.

                 d.      I understand all the terms of the Plea Agreement and those terms correctly

         reflect the results of plea negotiations.

                 e.      Except for the provisions of the Plea Agreement, no officer or agent of any

         branch of Government (federal, state or local), nor any other person, has made any

         promise to me, or within my knowledge to anyone else, that I would receive a lighter

         sentence, or probation, or any other form of leniency, if I would plead “Guilty.” I

         respectfully request that the Court consider in mitigation of punishment at the time of

         sentencing the fact that by voluntarily pleading “Guilty” I have saved the Government



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       and the Court the expense and inconvenience of a trial. I understand that before it

       imposes sentence, the Court will address me personally and ask me if I wish to make a

       statement on my behalf and to present any information in mitigation of punishment.

               f.      I am fully satisfied with my attorney’s representation during all phases of

       this case. My attorney has done all that anyone could do to counsel and assist me and

       that I fully understand the proceedings in this case against me.

               g.      I make no claim of innocence, and I am freely and voluntarily pleading

       guilty in this case.

               h.      I am pleading guilty as set forth in this Plea Agreement because I am

       guilty of the crime to which I am entering my plea.

               i.      I understand that if convicted, a defendant who is not a United States

       Citizen may be removed from the United States, denied citizenship, and denied admission

       to the United States in the future.

               j.      My attorney has informed me, and I understand, that I have the right to

       appeal any conviction and sentence that I receive, unless I have waived my right to

       appeal as part of this Plea Agreement. If I have not waived my right to appeal, I

       understand that I must file a Notice of Appeal within fourteen (14) days of the entry of

       the judgment in this case; I further understand that the Clerk of the Court will prepare and

       file a Notice of Appeal on my behalf if I ask that to be done. I also understand that the

       United States has the right to appeal any sentence that I receive under this Plea

       Agreement.

               k.      My attorney has informed me, and I understand, that if I provide or cause

       to be provided materially false information to a judge, magistrate judge, or probation



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         office, then Section 3C1.1 of the Sentencing Guidelines allows the Court to impose a

         two-level increase in the offense level.

                l.      If this cause is currently set for trial on the Court’s calendar, I request that

         this date be continued to permit the Court to consider this proposed guilty Plea

         Agreement. I further understand that any delay resulting from the Court’s consideration

         of this proposed guilty Plea Agreement, up to and including the date on which the Court

         either accepts or rejects my guilty plea, will be excluded in computing the time within

         which trial of this cause must commence, pursuant to 18 U.S.C. § 3161(h)(1)(G).

                                       Certificate of Counsel

         32.    By signing this document, the defendant’s attorney and counselor certifies as

  follows:

                a.      I have read and fully explained to the defendant all the accusations against

         the Defendant which are set forth in the Indictment in this case;

                b.      To the best of my knowledge and belief each statement set forth in the

         foregoing petition to enter plea of guilty and Plea Agreement is in all respects accurate

         and true;

                c.      The plea of “Guilty” as offered by the defendant in the foregoing petition

         to enter plea of guilty and Plea Agreement accords with my understanding of the facts as

         related to me by the defendant and is consistent with my advice to the defendant;

                d.      In my opinion, the defendant’s waiver of all reading of the Indictment in

         open Court, and in all further proceedings, including arraignment as provided in Fed. R.

         Crim. P. 10, is voluntarily and understandingly made; and I recommend to the Court that

         the waiver be accepted by the Court;



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              e.      In my opinion, the plea of “Guilty” as offered by the defendant in the

       foregoing petition to enter plea of guilty and Plea Agreement is voluntarily and

       understandingly made and I recommend to the Court that the plea of “Guilty” be now

       accepted and entered on behalf of the defendant as requested in the foregoing petition to

       enter plea of guilty and Plea Agreement.




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                                             Final Provision

           33.    Complete Agreement: The defendant acknowledges that no threats, promises, or

   representations have been made, nor agreements reached, other than those set forth in this

   document, to induce the defendant to plead guilty. This document is the complete and only Plea

   Agreement between the defendant and the United States Attorney for the Southern District of

   [ndiana and is binding only on the parties to the Plea Agreement, supersedes all prior

   understandings, if any, whether written or oral, and cannot be modified except in writing, signed

   by all parties and filed with the Court, or on the record in open court.




                                                         Respectfully submitted,

                                                         JOHN E. CHILDRESS
                                                         Acting United States Attorney



   DATE                                                  Nate Walter
                                                         Special Assistant United States Attorney



   DATE                                                  Michelle P. Brady (
                                                         Chief, Violent Crime Unit


  Y-1- ZS-
  DATE
                                                          ~~
                                                         Tommie Theodis Gordon, Jr.
                                                         Defendant



                                                         ~~    m.13•~
                                                         Gw~~ M. Beitz
                                                         Counsel for Defendant




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